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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

United States of America         )
                                 )
v.                               )     1:17-cr-37-JL
                                 )
Christopher Clough               )

                     UNITED STATES' PROPOSED JURY INSTRUCTIONS

       Elements of the Offense

       The defendant is charged with violating a federal statute called the Anti-Kickback Act,

which governs federal health care programs. In relevant part, the statute makes it unlawful for a

person to "receive any remuneration (including any kickback, bribe, or rebate) directly or

indirectly, overtly or covertly, in cash or in kind . . . in return for ordering any item for which

payment may be made in whole or in part under a Federal health care program. 42 U.S.C.

§ 1320a-7b. The elements of the offense, which the government must prove beyond a reasonable

doubt, are:

       (1)       the defendant received any remuneration in cash or in kind;

       (2)       the defendant received the remuneration in return for ordering an item for which

payment may be made in whole or in part under a Federal health care program; and

       (3)       the defendant received the remuneration knowingly and willfully.

       A.        Remuneration.

       "Remuneration" means something of value in whatever form. It may be cash or

something in kind. Paying for a meal for a person involved in prescribing drugs can be
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remuneration. Giving that person the opportunity to earn money as a speaker on behalf of the

drug company also can be remuneration.1

         B.      Received Remuneration In Return For Ordering Any Item.

         The government must prove that the defendant received the remuneration in return for his

prescribing Subsys for which payment was made by a Federal health care program such as

Medicare. The parties stipulated that some of the defendant's Subsys prescriptions during the

relevant time were paid for by Medicare.

         To "receive remuneration in return for ordering any item" means that the government

must prove that there was a quid pro quo arrangement (which means "this for that") between the

defendant and the person or entity paying the remunerations. In this case that means the

government must prove that the defendant received free meals and/or speaking fees from Insys in

exchange for prescribing Subsys to his patients. If the defendant accepted the remuneration from

Insys only for a reason other than his writing of prescriptions for Subsys, the defendant is not

guilty of the charged offense. If, however, you conclude that the defendant acted with a mixture

of motives for receiving the remuneration and that the government has proved that the defendant

received the remuneration in part as compensation for his past or expected future prescribing of

Subsys, the government has established this element of the offense. In other words, the

government is not required to prove that the defendant's exclusive or primary motive for

accepting the remuneration was his past or future writing of Subsys prescriptions so long as you

conclude that it was one of the motives.2




1
    United States v. Reichel, No. 15-cr-10324-DPW (D. Mass. 2015), DN 244 at 5.
2
    Id. United States v. Woodward, 149 F.3d 46 (1st Cir. 1998).
                                                 2
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         C.      Knowingly and Willfully.

         "Knowingly" means that the act was done voluntarily and intelligently and not because of

ignorance of misunderstanding.

         "Willfully" means that the act was done voluntarily and intentionally and with the intent

that the elements of the offense be undertaken, that is with a bad purpose either to disobey or

disregard the law and not because of some mistake. A person need not know the precise federal

statute at issue or have the intent to violate a specific law. A person acts willfully if he acts

unjustifiably and wrongly while knowing that his actions are unjustifiable and wrong. This

means that the law has not been violated if the defendant acted in good faith and held an honest

belief that his actions were lawful. The defendant has no burden to prove good faith; the burden

is on the government to prove criminal intent and thus the defendant's lack of good faith.3


                                                    Respectfully submitted,

                                                    SCOTT W. MURRAY
                                                    UNITED STATES ATTORNEY

    Dated: December 7, 2018                         By: /s/ Seth R. Aframe
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3
         Reich, DN 244 and 7.
                                                   3
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                                  CERTIFICATE OF SERVICE

        I certify that this date I have forwarded a copy of the foregoing by ECF electronic filing
to Pat Richard, Esq., counsel for the defendant.


Date: December 7, 2018                               ______________________________
                                                     Seth R. Aframe, AUSA




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